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                    12   TWITTER, INC.
                    13
                                                     UNITED STATES DISTRICT COURT
                    14
                                                  NORTHERN DISTRICT OF CALIFORNIA
                    15
                                                            SAN FRANCISCO DIVISION
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                    17
                         DMITRY BORODAENKO and HANA                      Case No. 3:22-cv-07226-AMO
                    18   THIER, on behalf of themselves and all others
                         similarly situated,                             Assigned to: Hon. Araceli Martinez-Olguin
                    19
                                              Plaintiffs,                DEFENDANT’S OPPOSITION TO
                    20                                                   PLAINTIFFS’ ADMINISTRATIVE
                                       vs.                               MOTION TO RELATE CASES
                    21
                         TWITTER, INC. and X CORP.,
                    22
                                              Defendants.
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                     1     I.   INTRODUCTION

                     2          Plaintiffs’ Administrative Motion to Relate Cases (the “Motion”) represents their counsel’s

                     3   third attempt to relate or consolidate several separate cases currently pending in the Northern

                     4   District. The Motion – along with the recently filed Weinberg et al. v. Twitter, Inc. action, Case

                     5   No. 3:23-cv-04016 (N.D. Cal. Aug. 8, 2023) (see RJN, Ex. 1) – is the latest in a series of purely

                     6   tactical filings to effectuate Plaintiffs’ counsel’s desired “judge shopping.” Notably, this Court has

                     7   already twice rejected Plaintiffs’ counsel’s efforts to “judge shop,” most recently by denying

                     8   Plaintiffs’ motion to consolidate this action with a separate sex-discrimination class action (Strifling

                     9   v. Twitter Inc., Case No. 22-cv-07739-JST) and a separate age-discrimination class action (Zeman
                    10   v. Twitter, Inc., Case No. 3:23-cv-01786). See ECF No. 58, p. 5, fn. 2. In declining to consolidate,

                    11   the Court explained, “Twitter suggests that Plaintiffs’ motion to consolidate is an effort to engage

                    12   in judge shopping. It is difficult to disagree, particularly considering the timing of Plaintiffs’

                    13   actions. The Court does not countenance gamesmanship of this kind.” Id. The Court should deny

                    14   the Motion for the following reasons:

                    15          First, the Motion fails to comply with Civil L.R. 3-12(b) and 7-11, which impose a five-

                    16   page limit and require that the Motion be accompanied by either a stipulation or a declaration

                    17   explaining why a stipulation could not be obtained. Here, Plaintiffs improperly combined the

                    18   Motion with a motion to consolidate, and the Motion is more than double the specified page-limit.

                    19   The Motion also is not supported by any stipulation or declaration. These failures, alone, justify
                    20   denying the Motion. See, e.g., Reyes v. Fed. Express Corp., No. 23-CV-00693-AMO, 2023 WL

                    21   4183473, at *6 (N.D. Cal. June 23, 2023) (denying administrative motion because it “does not

                    22   comply with the standards set forth for administrative motions in Civil Local Rule 7-11”).

                    23          Second, Plaintiffs filed a prior Administrative Motion to Relate Cases in May 2023.

                    24   Defendants opposed (see ECF No. 39). The Court agreed with Defendants, finding that this action

                    25   is not related to Strifling or Zeman. See ECF No. 41 (May 23, 2023 Clerk’s Notice stating that the

                    26   Court had “determined that no cases are related”). Just days after that ruling, Plaintiffs’ counsel

                    27   responded with a series of filings and improper amendments with the aim to manufacture a basis to

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                     1   relate and/or consolidate these cases.1 As explained in Twitter’s Motion to Dismiss the SAC in this

                     2   action (set for hearing November 2, 2023), the addition of a new named plaintiff (Thier) and a

                     3   wholly unrelated sex discrimination claim on behalf of a putative class violated FRCP Rule 15 and

                     4   exceeded the scope of the Court’s Order granting Twitter’s previous Motion to Dismiss.2 See ECF

                     5   No. 47. As a result, the Court should disregard any supposed “overlap” resulting from Plaintiffs’

                     6   lawyers’ manufactured pleadings in these actions, all of which are subject to currently pending

                     7   motions to dismiss and/or strike before the currently assigned judges in these cases—just like it did

                     8   in response to Plaintiffs’ motion to consolidate. See ECF No. 58, p. 5:8-11 (“[I]t appears Plaintiffs

                     9   have thus manufactured the common issues of law or fact… The Court is disinclined to resolve a
                    10   problem of Plaintiffs’ (or Plaintiffs’ counsel’s) own making and accordingly does not exercise its

                    11   discretion to consolidate”).

                    12             Third, the Weinberg, Strifling and Zeman actions fail to satisfy the criteria to be related to

                    13   this action, as they do not involve the same parties and transactions, and there would be no unduly

                    14   burdensome duplication of labor or conflicting results if the proceedings are conducted before

                    15   different judges. The only putative class claims in the Weinberg action allege violations of the

                    16   FMLA – claims that are no longer part of the operative complaint in this action. See ECF No. 42.

                    17   The remaining claims are individual claims that will turn on the facts and circumstances of these

                    18   plaintiffs’ employment and the resolution of which will not involve any unduly burdensome

                    19   duplication of labor or conflicting results.
                    20             For these reasons, the Court should find these cases are not related.

                    21       II.   ARGUMENT

                    22             A.     Plaintiffs’ Motion Violates Civil Local Rules 3-12(b) and 7-11.
                    23
                         1
                    24     See ECF No. 42 (filing a SAC that adds a new named plaintiff and a sex discrimination claim);
                         RJN, Ex. 2 [Strifling FAC] (filing a FAC that adds a new named plaintiff and an age discrimination
                    25   claim); ECF No. 46 (filing a Motion to Consolidate this action with Strifling and Zeman).
                         2
                           The same day that Plaintiffs filed the SAC in this action, Plaintiffs’ counsel filed an amended
                    26   complaint in Strifling, which likewise violated FRCP Rule 15 and exceeded the scope of Judge
                         Tigar’s order dismissing the action with limited leave to amend by adding a new plaintiff and a new
                    27   putative class claim alleging age discrimination. See RJN, Ex. 2. Twitter filed a Motion to Strike
                         the Strifling complaint that is currently set for hearing on August 31, 2023. Id., Ex. 4. Twitter also
                    28   filed a motion to dismiss the Zeman action that is set for hearing on August 18, 2023. Id., Ex. 5.
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                     1          Civil L.R. 3-12(b) requires a party filing an Administrative Motion to Consider Whether

                     2   Cases Should be Related to comply with Civil L.R 7-11, which imposes a five-page limit and

                     3   requires a party to file either a stipulation or a declaration explaining why a stipulation could not

                     4   be obtained. Here, Plaintiffs far exceed the five-page limit through their eleven-page brief. Plaintiffs

                     5   also fail to provide the requisite stipulation or declaration upon filing of their brief. The Court

                     6   should deny the Motion for non-compliance with the Local Rules. See Tri–Valley CAREs v. U.S.

                     7   Dept. of Energy, 671 F.3d 1113, 1131 (9th Cir. 2012) (“Denial of a motion as the result of a failure

                     8   to comply with local rules is well within a district court’s discretion.”); Athena Feminine Techs.

                     9   Inc. v. Wilkes, No. C 10-4868 SBA, 2013 WL 1820258, at *1 (N.D. Cal. Apr. 30, 2013) (“The
                    10   Court may summarily deny motions that are not filed in compliance with the Court’s local rules.”);

                    11   Zepeda v. PayPal, Inc., No. C 10-1668 SBA, 2012 WL 6553995, at *1 (N.D. Cal. Dec. 14, 2012)

                    12   (same); see also Reyes, WL 4183473, at *6 (noting non-compliance with local rules and finding

                    13   that, “[f]or all these defects alone, the application must be denied”).

                    14          B.      Plaintiffs’ Motion Is Based on a Series of Improper Filings, All Intended to
                                        Manufacture a Basis to Relate and/or Consolidate Actions and “Judge Shop”.
                    15
                                After filing an original complaint alleging disability discrimination claims under the ADA
                    16
                         and FEHA , ECF No. 1, Plaintiffs filed an amended complaint to add a new named plaintiff, Abhijit
                    17
                         Mehta, and Mehta’s claims for violation of the FMLA and CFRA on behalf of a putative class. ECF
                    18
                         No. 8. On May 5, 2023, Judge Gilliam granted Twitter’s Motion to Compel Plaintiff Mehta into
                    19
                         arbitration and Twitter’s Motion to Dismiss Borodaenko’s remaining claims. ECF No. 35.
                    20
                                On May 16, 2023, Plaintiff Borodaenko filed an Administrative Motion to Relate Cases.
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                         ECF No. 38. The Court determined that this action was not related to Strifling and Zeman. ECF No.
                    22
                         41. In response, Borodaenko filed a SAC that added a new named plaintiff and an entirely new and
                    23
                         substantively different claim for alleged sex discrimination under Title VII. ECF No. 42. The very
                    24
                         same day, in the Strifling matter, Plaintiffs’ counsel filed a FAC that added a new named plaintiff
                    25
                         and an entirely new and substantively different claim for alleged age discrimination under the
                    26
                         ADEA. See RJN, Ex. 2. Plaintiffs’ counsel clearly was disappointed with Judge Gilliam’s order in
                    27
                         this action dismissing Plaintiff Borodaenko’s claims and with Judge Tigar’s order granting
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                     1   Twitter’s Motion to Dismiss in the Strifling matter (see RJN, Ex. 3). As a result, when this matter

                     2   was reassigned away from Judge Gilliam on May 10, 2023, Plaintiffs’ counsel saw an opportunity

                     3   for judge shopping, and they have been working ever since to have all these separate matters related

                     4   and/or consolidated with the Borodaenko action. But this Court has made clear that it does not

                     5   “countenance [such] gamesmanship.” See ECF No. 58, p. 5, fn. 2; see also Rezner v. Bayerische

                     6   Hypo-Und Vereinsbank AG, 2009 WL 3458704, at *2 (N.D. Cal. Oct. 23, 2009) (a party’s attempt

                     7   to transfer its case “soon after receiving an adverse ruling” has “the appearance of judge shopping,

                     8   which . . . weighs heavily against relating the cases”); Storrer v. Paul Revere Life Ins., 2008 WL

                     9   667402, at *1 (N.D. Cal. March 6, 2008) (rejecting a motion to relate cases “because of the
                    10   attendant risks of judge-shopping”).

                    11          The Weinberg complaint, filed August 8, 2023, is yet another tactical filing to promote this

                    12   objective. The complaint alleges a putative FMLA class action with a single named plaintiff

                    13   (Weinberg) who has completely unique claims that do not overlap with the other cases. But

                    14   Plaintiffs’ counsel included six other plaintiffs who allege purely individual claims for sex, race,

                    15   and age discrimination, and thus have no connection to the putative FMLA class claims. See RJN,

                    16   Ex. 2. Why would counsel include these plaintiffs with individual claims in Weinberg, when they

                    17   are already members of the pending Strifling and Zeman putative class actions? The answer came

                    18   a mere three days after Weinberg was filed, when Plaintiffs’ counsel filed the combined

                    19   Administrative Motion to Relate Cases and Motion to Consolidate Cases. It was simply a tactic to
                    20   obtain the relief that this Court has repeatedly denied. As a result, the Court should deny the Motion.

                    21          C.      This Action and Weinberg Are Not Related Under Local Rule 3-12(a).
                                        1.      The Cases Do Not Concern Substantially the Same Parties.
                    22
                                Weinberg involves seven named plaintiffs, none of whom alleges disability discrimination
                    23
                         claims, as Borodaenko has done. Weinberg asserts class claims for violations of the FMLA on
                    24
                         behalf of Twitter employees who have taken or applied to take a family or medical leave, but this
                    25
                         action does not include FMLA claims. Ogunsanya asserts an individual race discrimination, but
                    26
                         this action does not include race discrimination claims. Bessinger and Ihara assert individual age
                    27
                         discrimination claims, but this action does not include age discrimination claims. Weinberg,
                    28
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                     1   Gongora, Steele, Sills, and Bessinger assert individual sex discrimination claims. While the SAC

                     2   here contains alleged sex discrimination claims, those claims were improperly added (see ECF No.

                     3   47), and Twitter has moved to dismiss and/or strike those claims. Thus, the parties in these actions

                     4   are not substantially the same, and the L.R. 3-12(a)(1) criteria are not met.

                     5                  2.      The Cases Do Not Concern Substantially the Same Transactions or
                                                Events.
                     6
                                  Beyond observing superficial similarities, Plaintiffs do not even try to explain how or why
                     7
                         these cases supposedly involve substantially the same transactions or events. See Hynix
                     8
                         Semiconductor v. Rambus, Inc., 2008 WL 3916304, at *2 (N.D. Cal. Aug. 24, 2008) (cases not
                     9
                         related that involve “some of the same” property and events because they did not involve
                    10
                         “substantially the same” property or events). That is because these cases involve different
                    11
                         transactions and events. The FMLA claims in Weinberg involve allegations that the reduction-in-
                    12
                         force (“RIF”) Twitter implemented on November 4, 2022 had a disproportionate impact on
                    13
                         employees who had recently taken or were preparing to take family or medical leave. RJN, Ex. 1,
                    14
                         ¶¶ 7, 9-15, 25. In contrast, Borodaenko’s and Thier’s claims in this action do not relate to the
                    15
                         November 4 RIF at all. Rather, they allege that Twitter’s post-RIF, return-to-office policy on
                    16
                         November 9, 2022 was discriminatory toward its disabled employees and that disabled Twitter
                    17
                         employees “felt forced to resign” when Twitter later implemented a post-RIF policy that required
                    18
                         them to “work long hours at high intensity.” ECF No. 42 (SAC ¶¶ 8, 9). The impact of a return-to-
                    19
                         office policy on disabled employees and the reason(s) why employees allegedly “felt forced to
                    20
                         resign” due to their disabilities plainly do not involve Twitter’s decision to affirmatively lay off a
                    21
                         separate group of employees in the RIF, which is the set of events and transactions at issue in
                    22
                         Weinberg. The L.R. 3-12(a)(1) criteria are not satisfied.
                    23
                                        3.      There is No Risk of an Unduly Burdensome Duplication of Labor and
                    24                          Expense or Conflicting Results.

                    25          This action and Weinberg involve different parties asserting different claims that arise from

                    26   different events, under different substantive laws. Thus, the risk of “unduly burdensome duplication

                    27   of labor and expense” is minimal. Similarly, because the claims in this action do not overlap with

                    28   Weinberg, there is no risk of conflicting results, and the L.R. 3-12(a)(2) criteria are not satisfied.
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                     1   Dated: August 15, 2023                   MORGAN, LEWIS & BOCKIUS LLP

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                                                                       X CORP. AS SUCCESSOR IN
                     7                                                 INTEREST TO TWITTER, INC.
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